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                                            ON REHEARING

                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 20-6135


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        JOHN DOE,

                             Defendant - Appellant.



                                               No. 20-7470


        UNITED STATES OF AMERICA,

                             Plaintiff - Appellee,

                      v.

        JOHN DOE,

                             Defendant - Appellant.



        Appeals from the United States District Court for the Eastern District of North Carolina, at
        Wilmington. Terrence W. Boyle, District Judge. (7:01-cr-00027-BO-1; 7:18-cv-00053-
        BO)




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        Submitted: July 16, 2021                                          Decided: August 5, 2021


        Before KING, AGEE, and FLOYD, Circuit Judges.


        Affirmed in part and dismissed in part by unpublished per curiam opinion.


        John Doe, Appellant Pro Se.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

               John Doe appeals the district court’s orders denying his Fed. R. Civ. P. 60(b) motion

        for relief from the district court’s prior order dismissing his 28 U.S.C. § 2255 motion,

        denying his motion to seal, denying his motions to proceed by pseudonym, and denying

        reconsideration. First addressing the motions to seal and to proceed by pseudonym, we

        have reviewed the record and find no reversible error. Accordingly, we affirm these

        portions of the district court’s orders.

               Turning to the portions of the district court’s orders denying Doe’s Rule 60(b)

        motion and denying reconsideration, these portions of the orders are not appealable unless

        a circuit justice or judge issues a certificate of appealability. 28 U.S.C. § 2253(c)(1)(B).

        See generally United States v. McRae, 793 F.3d 392, 400 & n.7 (4th Cir. 2015). A

        certificate of appealability will not issue absent “a substantial showing of the denial of a

        constitutional right.” 28 U.S.C. § 2253(c)(2). When the district court denies relief on the

        merits, a prisoner satisfies this standard by demonstrating that reasonable jurists would find

        the district court’s assessment of the constitutional claims debatable or wrong. See Buck

        v. Davis, 137 S. Ct. 759, 773-74 (2017). When the district court denies relief on procedural

        grounds, the prisoner must demonstrate both that the dispositive procedural ruling is

        debatable and that the motion states a debatable claim of the denial of a constitutional right.

        Gonzalez v. Thaler, 565 U.S. 134, 140-41 (2012) (citing Slack v. McDaniel, 529 U.S. 473,

        484 (2000)).

               We have independently reviewed the record and conclude that Doe has not made

        the requisite showing. Accordingly, we deny a certificate of appealability and dismiss this

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        portion of the appeal. We deny Doe’s motions to recuse. We dispense with oral argument

        because the facts and legal contentions are adequately presented in the materials before this

        court and argument would not aid the decisional process.



                                                                               AFFIRMED IN PART,
                                                                               DISMISSED IN PART




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